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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

IN RE: ROUNDUP PRODUCTS ! MDL No. 2741

LIABILITY LITIGATION
Case No.: 3:16-md-02741-VC

This dégument relutestar : PLAINTIFFS MICHAEL J. CACCIA

: AND HOLLY CACCIA’S SUR-REPLY
Michael J. Caccia and Holly Caccia ! FOMPLIO MOTIGN Gy Peron
v. Monsanto Co., : TESTIMONY OF DR. MARC
Case No. 3:20-cv-01915-VC : BRAUNSTEIN

Hearing:

‘ Date: March 1, 2024 e Time: 10:00a.m.
‘ Place: San Francisco Courthouse

: Courtroom 4 — 17" Floor

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I ARGUMENT

A. Dr. Braunstein Properly Ruled-In Roundup As A Cause of Plaintiff?’s NHU
Based On Mr. Caccia’s Significant And Longstanding Exposure

After Plaintiffs filed their Response in Opposition to this Motion, Monsanto Company}
raised the issue of “exposure days” in its reply brief. In doing so, defendant Monsanto Company}
misrepresents the Court’s ruling in PTO 85 and then uses that as a basis to argue that Dr. Braunstein]
failed to reliably “rule-in” Roundup as a cause of Mr. Caccia’s NHL, despite his 133 exposure
days. PTO 85 clearly indicates that Roundup exposure sufficient to cause cancer is a general
causation question established through general causation experts upon whom specific causation]
experts, like Dr. Braunstein, may rely upon as a basis in forming their opinions. This is the case
regardless of whether Dr. Braunstein reviewed and relied upon epidemiological studies in forming
his own opinions.

Specifically, the Court in PTO 85 addressed this identical argument on exposure days made
by defendant Monsanto Company:

And here, the Court already determined that the plaintiffs offered admissible expert
opinions that glyphosate is capable of causing NHL. Thus, Monsanto’s primary
criticism of the ruling-in process — namely, that the specific causation experts
improperly ruled in glyphosate exposure by cherry-picking favorable
epidemiological studies — is off point. As this Court has previously ruled, the
specific causation experts are permitted to build from the plaintiffs’ admissible
general causation opinions. And the admissible general causation opinions
grappled with the full body of evidence. Thus, it does not matter that the
specific causation experts mentioned only a subset of the epidemiological
studies in their reports; at trial, their basis for ruling in glyphosate will be the
general causation opinions. This result is the byproduct of the decision to
bifurcate pretrial proceedings between general and specific causation — a decision
that Monsanto urged. . .

The specific causation experts cite De Roos as well, but, again, the important
point is that these experts will not be repeating the analysis of the general
causation experts, but rather relying on them to rule in glyphosate. . .

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It is sufficient for a qualified expert, in reliance on his clinical experience, review
of a plaintiffs’ medical records, and evaluation of the general causation evidence,
to conclude that an “obvious and known risk factor[]” is the cause of that plaintiff s
disease. See Wendell, 858 F.3d at 1235. Here, the specific causation experts did
that. Relying on the plaintiffs’ admissible general causation opinions — which
assert a robust connection between glyphosate and NHL — the experts
concluded that glyphosate was a substantial factor in causing the plaintiffs’
NHL.

Moreover, the experts relied heavily on the plaintiffs’ exposure levels in
drawing their conclusions. All three experts noted the plaintiffs’ extensive
Roundup usage, and further explained — as did the plaintiffs’ general
causation opinions — that both the McDuffie (2001) and Eriksson (2008) studies
showed a dose-response relationship between glyphosate and NHL. See
generally In re Roundup Products Liability Litigation, 2018 WL 3368534, at *9-
10. Thus, consistent with Ninth Circuit caselaw, the experts provided a basis for
their conclusion that these plaintiffs fall into the category of Roundup users who
developed NHL.

(See Plaintiffs Caccia’s Opposition at Exhibit C, PTO 85 at pages 2-6)(emphasis
added).

Dr. Braunstein will indeed rely upon general causation testimony regarding whether
Roundup causes NHL in giving his specific causation opinions. He cited to these general causation|
experts in section 4 of his report at page 3, namely, Beate Ritz, MD, PhD; Dennis Weisenburger,
MD; Alfred I. Neugut, MD, PhD: Charles W. Jameson, PhD; Christopher Portier, PhD; and Chadi
Nabhan, MD, and thereafter stating “Studies of GBP in cellular and animal models, as well as in]
epidemiologic studies, as described above and in the general causation reports listed in section 4}
demonstrate that GBP such as Roundup can cause cancer, specifically with an increased risk for
NHL...” (See Defendant Monsanto’s Motion at Exhibit C, Braunstein Report at pages 3 and 14).

In addition to relying upon general causation experts, Dr. Braunstein is relying upon|
plaintiff's toxicology expert Dr. Sawyer to determine and calculate Mr. Caccia’s Roundup
exposure and whether his exposure level was of sucha statistically significant level that it exceeded]

the level necessary to create an increased risk for NHL.

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Was your -- what was your methodology for arriving at your opinion
in this case?

I used the records provided, the history, the reports of his exposure to
Roundup, and, ultimately, the toxicology report, you know, confirmed
that he had a substantial exposure. And then, the kind of differential
diagnosis approach to look at the other potential contributing factors
and kind of weigh the evidence of potential contributing factors. And,
you know, apply the Bradford Hill criteria to --- to come to a
conclusion.

(See Defendant Monsanto’s Motion at Exhibit B, Braunstein Dep. at 34:7-18.)

Solidifying this point of relying upon the exposure assessment of Dr. Sawyer, Dr.

Braunstein testified as follows:

Q.

A.

Okay. So to determine if Roundup was a risk factor for Mr. Caccia,
you evaluated his exposure, right?

To the extent that it was in his -- in the available materials, and, again,
relying on Dr. Sawer’s, you know, toxicology assessment.

What is the calculated total exposure that Mr. Caccia had to Roundup?

Well, in Table 25 of Dr. Sawer’s report, he notes that there were a total
of 133 exposure days prior to his initial NHL diagnosis, and a
cumulative 133 time-waited exposure days. So that — that’s what I used
as a metric of his exposure.

Do you know how that number was calculated?
He used an exposure day calculation, but I don’t know the -- all the

moving parts of that calculation. Again, I relied on his — his expertise
there.

(See DeVoto Decl., Ex. B, Dr. Braunstein Dep. at 55:9-56:2.)

Dr. Sawyer was deposed and testified as to his methodology in arriving at Mr. Caccia’s
exposure days. (See Plaintiffs Caccia’s Opposition at Exhibit D, Deposition of Dr. Sawyer at 72:9-
74:25). He further testified that he could find no other exposure in Mr. Caccia’s history that created

any significant statistical risk of NHL except for his exposure to Roundup. (See Plaintiffs Caccia’s

Opposition at Exhibit D, Deposition of Dr. Sawyer at 103:7-105:5.)

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Specifically, with respect to his exposure days and its significance, Dr. Sawyer’s opinion]
was clear that Mr. Caccia had significant and longstanding exposure to Roundup that exceeded the
levels necessary to create an NHL risk.

Q. Allright. And I guess the point I’m driving at is that you cannot make

an apple-to-apples comparison of Mr. Caccia into the Andreotti study.
You couldn’t place him into one of the quartiles or tertiles?
A. Well, I can. I know he had 133 exposure days, which is -- if you look at

Andreotti, that’s in the -- I believe the highest quartile. And the poor
guy was half naked. So let’s put him in the high-exposed exposure

group.

(See Plaintiffs Caccia’s Opposition at Exhibit D, Dr. Sawyer Dep. at 100:14-24.)

Q. Is there any way that you could give an opinion to a reasonable degree
of scientific certainty that but for using Roundup, Mr. Caccia would
not have developed NHL?

A. Yeah, certainly there is a very highly significant, statistically significant
increased risk of Mr. Caccia developing NHL from his Roundup
exposures. And if he had not been exposed to Roundup, his risk level
would have been much less.

(See Plaintiffs Caccia’s Opposition at Exhibit D, Dr. Sawyer Dep. at 105:2-5.)

Notwithstanding, Dr. Braunstein’s testimony regarding exposure was not conditioned on

anyone exceeding two days per year or ten lifetime days of Roundup use. While he cited to the
Eriksson and McDuffie studies, he referenced those as minimum thresholds, not as a definitive
causal connection, also stating that years of exposure was important. (See DeVoto Decl., Ex. B,
Dr. Braunstein Dep. at 57:3-10). As he stated in his report, “Mr. Caccia’s exposure to Roundup
has been substantial over a longer period of time than reported in epidemiologic studies described
below.” (See Defendant Monsanto’s Motion at Exhibit C, Braunstein Report at page 8). He further

stated “studies looking at latency between exposure of 10 years or more to glysophate have shown

increased likelihood of NHL.” (See Defendant Monsanto’s Motion at Exhibit C, Braunstein

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Report at pages 12-13). Finally, in his conclusion he again referenced Mr. Caccia’s “prolonged|
duration of exposure to Roundup” and his “long-standing exposure to Roundup well over a 23 year
period” as significant factors in causing or contributing to Mr. Caccia’s aggressive NHL. (See
Defendant Monsanto’s Motion at Exhibit C, Braunstein Report at page 14).

Based on the foregoing, Dr. Braunstein has properly ruled-in Roundup as a cause of Mr.
Caccia’s NHL. Dr. Braunstein’s specific causation opinion regarding Mr. Caccia’s exposure is
entirely consistent with PTO 85 and is based on his reliance of general causation reports he
reviewed, Dr. Sawyer’s toxicology report and opinions, as well as the totality of studies and

documents he reviewed.

Il. CONCLUSION

For these reasons, this Honorable Court should deny Monsanto Company’s Motion to
Exclude Testimony of Marc Braunstein, M.D., together with such other relief as the Court deems
just and proper.

Respect itted,

Date: February 20, 2024 AUA—

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